Case 4:18-cv-00298-SPF-JFJ Document 302 Filed in USDC ND/OK on 07/12/21 Page 1 of 3




                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OKLAHOMA

  RICHARD FELTZ, on behalf of himself and
  all others similarly situated,

   Plaintiff,
  v.                                                 Case No.: 18-cv-298-SPF-JFJ

  TULSA COUNTY, et al.,

   Defendants.

                     DEFENDANT JUDGES’ RESPONSE TO PLAINTIFFS’
                     MOTION TO EXTEND EXPERT REPORT DEADLINE

        For their Response to Plaintiffs’ Motion to Extend Expert Report Deadline (doc. 301), the

 Judicial Defendants, by and through their counsel of record, state the following:

        1.       The Judicial Defendants’ experts were planning to conduct the bulk of their work on

        this matter this summer after reviewing Plaintiffs’ experts’ report(s).

        2.       The Judicial Defendants’ experts are not full-time litigation consultants and they

        have many additional obligations in the fall that they do not have in the summer. One of the

        Judicial Defendants’ experts in particular has an extremely busy fall schedule.

        3.       Until reviewing Plaintiffs’ experts’ report(s), the Judicial Defendants’ experts are

        uncertain how much of their time will be required to respond to those reports.

        For these reasons, the Judicial Defendants do not object to Plaintiffs’ request to extend their

 expert-report deadline to September, so long as the Judicial Defendants’ experts have until January

 15, 2022 to submit their report(s) and disclosures, and so long as the other case deadlines are

 extended as outlined in Plaintiffs’ Motion.
Case 4:18-cv-00298-SPF-JFJ Document 302 Filed in USDC ND/OK on 07/12/21 Page 2 of 3




                                     Respectfully submitted,

                                      s/ Devan A. Pederson              .
                                     STEFANIE E. LAWSON, OBA #22422
                                     ERIN M. MOORE, OBA #20787
                                     DEVAN A. PEDERSON, OBA # 16576
                                     Assistant Attorneys General
                                     Oklahoma Attorney General’s Office
                                     313 NE 21st Street
                                     Oklahoma City, OK 73105
                                     Telephone:     (405) 521-3921
                                     Facsimile:     (405) 521-4518
                                     Email: stefanie.lawson@oag.ok.gov
                                            erin.moore@oag.ok.gov
                                            devan.pederson@oag.ok.gov
                                     Attorneys for Judicial Defendants




                                         2
Case 4:18-cv-00298-SPF-JFJ Document 302 Filed in USDC ND/OK on 07/12/21 Page 3 of 3




                                   CERTIFICATE OF SERVICE

         I hereby certify that on this 12th day of July, 2021, I electronically transmitted the foregoing
 document to the Clerk of Court using the ECF System for filing and I further certify that on this date
 a true and correct copy of the foregoing was served on following who are ECF registrants:
  Kristina Saleh                                    Alexandria Twinem
  Hayley Horowitz                                   Ryan Downer
  Phoebe Kasdin                                     Civil Rights Corps
  Still She Rises, Tulsa                            1601 Connecticut Ave. NW, Suite 800
  567 E. 36th Street North                          Washington, DC 20009
  Tulsa, OK 74106                                   alexandria@civilrightscorps.org
  kristinas@stillsherises.org                       ryan@civilrightscorps.org
  hayleyh@stillsherises.org                         alexandria@civilrightscorps.org
  phoebek@stillsherises.org                         Attorneys for Plaintiff
  Attorneys for Plaintiff

  Allison Holt Ryan                                 Vassi Iliadis
  Michelle Kisloff                                  Hogan Lovells US LLP
  Gary Yeung                                        1999 Avenue or the Arts, Suite 1400
  Hogan Lovells US LLP                              Los Angeles, CA 90067
  555 Thirteenth Street, NW                         vassi.iliadis@hoganlovells.com
  Washington, DC 20004                              Attorney for Plaintiff
  allison.holt-ryan@hoganlovells.com
  michelle.kisloff@hoganlovells.com
  gary.yeung@hoganlovells.com
  Attorneys for Plaintiff

  Douglas Allen Wilson                              Jeb Joseph
  Mike Shouse                                       Oklahoma Attorney General’s Office
  Tulsa County District Attorney’s Office           313 NE 21st Street
  218 W. 6th Street., Suite 933                     Oklahoma City, OK 73105
  Tulsa, OK 74119                                   Jeb.Joseph@oag.ok.gov
  Douglas.wilson@tulsacounty.org                    Attorney for Non-party Jari Askins
  mshouse@tulsacounty.org
  Attorney for Defendants Regalado and BOCC



                                                        s/ Devan A. Pederson
                                                        Devan A. Pederson




                                                    3
